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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                    (Northern Division)

BALTIMORE COUNTY BRANCH OF THE
NATIONAL ASSOCIATION FOR THE
ADVANCEMENT OF COLORED PEOPLE,
et al.,                                             Civil Action No. 1:21-cv-03232-LKG
                     Plaintiffs,

       v.
BALTIMORE COUNTY, MARYLAND,
et al.,

                     Defendants.


            NOTICE REGARDING PLAINTIFFS’ RESPONSE TO DEFENDANT
              BALTIMORE COUNTY’S SUPPLEMENTAL DECLARATIONS

       On March 22, 2022, pursuant to the Court’s request that Defendant Baltimore County,

Maryland submit additional evidence showing that Baltimore County Council District 2 is a

crossover or coalition district, Baltimore County submitted a Notice of Filing of Additional

Supplemental Declarations of District 2 Council Member Izzy Patoka and Dr. James Gimpel, PhD.

ECF 74. On March 23, 2022, Plaintiffs filed a Response to Defendant Baltimore County’s

Supplemental Declarations. ECF 75. This Notice briefly addresses two discrete issues: (1) Ms.

Cheryl Pasteur’s election was not uncontested when she won her seat to the Baltimore County

Board of Education in 2018 and (2) Plaintiffs’ expert, Dr. Matt Barreto, used incorrect data in his

Fifth Declaration.

       First, despite Plaintiffs’ insistence, Ms. Pasteur did not run “uncontested” in 2018. She

had an opponent, Mr. Anthony Glasser, who provided his background, positions, and platforms to

potential voters. See Northwest Chamber of Commerce, Meet the Candidates – Baltimore County,


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District 2, https://nwvoicenews.com/wp-content/uploads/2018/09/NWV-September2018.pdf (last

visited March 24, 2022). He also participated in the Northwest Voice’s 2018 Candidates Political

Forum. See https://northwestchambermd.com/meet-the-candidates-baltimore-county-district-2/ at

5 (last visited March 24, 2022).

       In addition, attached to Plaintiffs’ Response was the Fifth Declaration of Matt Barreto,

PhD. ECF 75-1. In that Declaration, Dr. Barreto asserts, “according to the U.S. Census Bureau,

37% of Hispanic adults are not citizens, therefore reducing their share of voters.” Id. at ¶ 10. The

citation provided in a footnote for this figure is to the 2020 American Community Survey 5-Year

Estimates for Citizenship Status (Hispanic or Latino) for Baltimore City, Maryland, 1 not Baltimore

County, and thus, should be disregarded.2 See id. at ¶ 10 n. 1. Furthermore, the very same source

that Dr. Barreto cites indicates that only 34% of Hispanic adults in Baltimore County are not

citizens. 3 That is an 8% drop from Plaintiffs’ and Mr. Cooper’s previous claim that the Latinx

non-citizenship rate in Baltimore County was 42%. ECF 60-1, 3rd Cooper Decl. ¶ 3.

       WHEREFORE, Defendant Baltimore County, Maryland, respectfully submits this Notice

Regarding Plaintiffs’ Response to Defendant Baltimore County’s Supplemental Declarations.



 Dated: March 24, 2022                         Respectfully submitted,

                                               /s/ Melissa O. Martinez
                                               Ava E. Lias-Booker (Fed. Bar No. 05022)
                                               Melissa O. Martinez (Fed. Bar No. 28975)


1https://data.census.gov/cedsci/table?q=B05003I%3A%20SEX%20BY%20AGE%20BY%20NA

TIVITY%20AND%20CITIZENSHIP%20STATUS%20%28HISPANIC%20OR%20LATINO%
29&g=0500000US24510.
2 This mix-up further illustrates Dr. Barreto’s, and Plaintiffs’ experts’ generally, lack of knowledge

of and familiarity with the relevant communities at issue in this case.
3https://data.census.gov/cedsci/table?q=B05003I%3A%20SEX%20BY%20AGE%20BY%20NA

TIVITY%20AND%20CITIZENSHIP%20STATUS%20%28HISPANIC%20OR%20LATINO%
29&g=0500000US24005.
                                                  2
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                            Maryland




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                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of March, 2022, a copy of the foregoing Notice

Regarding Plaintiffs’ Response to Defendant Baltimore County’s Supplemental Declarations was

served via the Court’s CM/ECF system upon all counsel of record.



                                              /s/ Melissa O. Martinez
                                              Melissa O. Martinez




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